 

Case 18-15891-LMI Doci1_ Filed 05/16/18 Pagelofs8

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:
de District of Fondly

i (State)
_ Case number (itknowny: Cipfier you are filing under:
Chapter 7
() Chapter 14
C) Chapter 12 oo.
O) Chapter 13 : U) Check if this is an
amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 12115

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joir.t case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a|form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debfor 7 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Part 4: | Identify Yourself |

|
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

 

-4. Your full name

 

White the name that is on your NY
government-issued picture He Ui CE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

identification (for example, First name First name
your driver's license or
passport). Middie name Middle name
Bring your picture aM Ce
identification to your meeting = Las¥name Last name
with the trustee.
Suffix (Sr., dr., Il, Ill) Suffix (Sr. Jr., Il, II)

2. All other names you SA77e eae
have used in the last 8 First name - First name ot
years nO

i. i;
Include your married or Middle name Middle name 5
maiden names. oy
Last name Last name oy
a
First name First name
Middle name Middle name
Last name Last name

3. Only the last 4 digits of G 0 5 / OK - KE
your Social Security OK OO —— —— —_ —_ —
number or federal OR OR
Individual Taxpayer

pay 9xx - x - 9x - « -__|

Identification number
(ITIN)

Official Form 101

 

Voluntary Petition for Individuals Filing for Bankruptcy

 
Case 18-15891-LMI

Debtor 1

My -
‘irst Name Middle Name

y Name

 

 

 

ie ORD

 

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

sty UII IRE A BTEISHE I Si B MIB EE atc Si IE RNM Nb WERE

s. Where you live

6. Why you are choosing
this district to file for
bankruptcy

 

Official Form 101

posits RUSE oe gS Wit

About Debtor 1:

(2 | have not used any business names or EINs.

Case number (if known),

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About Debtor 2 (Spouse Only in a Joint Case):

(J | have not used any business names or EINs.

 

Business name

Business name

 

Business name

EN

EN

[Yl WW 19 pu

 

Business name

EN”

EIN”

 

 

 

 

Number Street

Name Lh . 35/67
City State. ZIP Code

_ tian J2bGE

 

County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

(Save)

 

Number Street

 

P.O. Box

 

City State ZIP Code

, one:

Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

UY I have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

Voluntary Petition for Individuals Filing for Bankruptcy

If Debtor 2 lives at a different address:

 

Number Street

 

 

 

City

State ZIP Code

 

County

yours, fill it in here,

Note that the court will send

If Debtor 2’s mere address is different from

any notices to this m

iling address.

 

Number Street

 

P.O. Box

 

Check one:

(2 Over the last 180

State ZIP Code

days before filing this petition,

| have lived in this district longer than in any

other district.

() | have another re
(See 28 U.S.C. §

ason. Explain.
1408.)

 

 

 

 

 

page?

 

 
 

Case 18-15891-LMI

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Debtor 1

First Name Middle Name

Sy effe

Case number (if known).
Last Name

Ea Tell the Court About Your Bankruptcy Case

7. The chapter of the

Bankruptcy Code you
are choosing te file
under

How you will pay the fee

Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy

11.

cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
Partner, or by an
affiliate?

Do you rent your
residence?

Official Form 101

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing

for Bankruptcy (Form B2010)). Also, go to the top of page 1 and check the approp’
(@Chapter 7

(} Chapter 11

L) Chapter 12

C) Chapter 13

CL) | will pay the entire fee when | file my petition. Please check with the clerk's office in your

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mentee

riate box.

local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a|credit card or check

with a pre-printed address.

Urneed to pay the fee in installmeats. If you choose this option, sign

 

and attach the

Application for Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

C) | request that my fee be waived (You may request this option only if
By law, a judge may, but is not required to, waive your fee, and may d

ou are filing for Chapter 7.
so only if your income is

less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

CI No

Wes. District Sov ap) _ When
District St Os y beens When

District 3 Oh een? When
Sootleaeal

  

MM f YY

10-13-57

Bo

 

 

Ql yYes. Debtor
District When _
MM/DD /YYYY
Debtor
District When
MM/DD/YYYY

(fio.

C) Yes.

Go to line 12.

residence?

CI No. Go to line 12.

5 / v/ 16 Case number / $ ~
MM‘ DD’ YYYY :

ase number /a- ys 3 73 4 ~Lf7]
AIDE cae number OD — a3 ES LM /
M YYY

4E-RI/ YZ

Relationship to you

Case number, if known.

Relationship to you

Case number, if known.

Has your landlord obtained an eviction judgment against you and do you want to stay in your

(I Yes. Fill out initial Statement About an Eviction Judgment Against You (Form 101A) and file it with

this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy

page?

 
Debtor 1

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Case number (‘ known),

 

First Name

Middle Name Last Name

Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor

No. Go to Part 4.

 

 

of any full- or part-time
business?

A sole proprietorsnip is a
ousiness you operate as an
individual, and is not a
separate legal entity such as
a corporation, parnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

13. Are you filing under
Chapter 11 of the
Bankruptcy Code and
are you a small business
debtor?

For a definition of smaif
business debtor, see

11 U.S.C. § 101(&1D).

(J Yes. Name and location of business

 

 

Name of business, if any

 

 

 

 

Number Street
City State ZIP Cade
Check the appropriate box to descr e your business:

(J Heaith Care Business (as defined in 11 U.S.C. § 101(27A))

LJ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

CY Stockbroker (as defined in 11 U.S.C. § 101(53A)) |

| Commodity Broker (as defined in 11 U.S.C. § 101(6)) |
|

None of the above

can set appropriate deadlines. \f you indicate that you are a small business debtor, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if

If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
wn these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
No.

|
| am not filing under Chapter 11. |

LI No. !am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.

CQ Yes. | am filing under Chapter 11 and | am a small business debtor according {o the definition in the
Bankruptcy Code.

Ea Report if You Own or Have Any Hazardous Property or Any Property That Needs immediate Attention

 

14. Do you own or have any
property that poses or is
alleged to pose a threat
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?
For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Official Form 104

wo

C) Yes. What is the hazard?

 

 

If immediate attention is needed, why is it needed?

 

 

Where is the property?

 

Number Street

 

 

City State ZIP Code

Voluntary Petition for Individuals Filing for Bankruptcy pages

 
 

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Case 18-15891-LMI

Debtor 4 MAW?

First Name Middle Name

oy

7 Last Name

aa Explain Your Efforts to Receive a Briefing About Credit Counseling

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Case number (if known),

 

45. Tell the court whether
you have received
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will tose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
pian, if any, that you developed with the agency.

CI I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

LL} | certify that | asked for credit counseling
services from an approved agency, tut was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CJ | am not required to receive a briefing about
credit counseling because of:

U) Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

QO Disability. |My physical disability causes me
to be unable to participate in a
briefing in person, by p: one, or
through the internet, even after |
reasonably tried to do so.

Q) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

 

 

LL} | received a bri fing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy ofthe certificate and the payment
pian, if any, that)you developed with the agency.

L) | received a bri fing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but I do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file alcopy of the certificate and payment
plan, if any.

Oh certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you|made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and|what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with|your reasons for not receiving a
briefing before you filed for bankruptcy.

\f the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause ahd is limited to a maximum of 15
days.

 
  
 
  
 

CD 1 am not uid to receive a briefing about
credit counseling because of:

} incapacity. | | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

Q Disability. | My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after !
reasonably tried to do so.

L) Active duty! | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

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First Name

Debtor 1

Middle Name

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Case number (it known),

Svigenelfe
LastName 7%

a Answer These Questions for Reporting Purposes

 

16. What kind of debts do
‘you have?

16a. Are your debts primarily consumer debts? Consumer debts are corres in 11 U.S.C. § 101(8)

as “incurred by an individual primarily for a personai, family, or household pu
C) No. Go to line 16b.
Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts
money for a business or investment or through the operation of the business

CL} No. Go to line 16c.
QC) Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

ose.”

that you incurred to obtain
lor investment.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

 

(2B No. | am not filing under Chapter 7. Go to line 18.

Wres. | am filing under Chapter 7. Do you estimate that after any exempt prope
ne expenses are paid that funds will be available to distribute
N

0

QC) Yes

is excluded and
0 unsecured creditors?

 

149

L) 1,000-5,000

C)
LJ 50-99 CJ 5,001-10,000 QO
(3 100-199 (J 10,001-25,000 QQ
O200-999 | .
( $0-$50,000 CJ $1,000,001-$10 million

19. How much do you
estimate your assets to
be worth?

C1 9%60.001-$500.000
$500,001-$1 million

CQ) $10,000,001-$50 million
UJ $56,000,001-$100 million
CJ $100,000,001-$500 million

C2 $50,001-$100,000

25,001-50,000
>0,001-100,000
More than 100,000

$500,000,001-$1 billion
$1,000,000,001-$10 billion
$10,000,000,001-$50 billion
More than $50 billion

 

 

20. How much do you
estimate your liabilities
to be?

For you

Sign Below

(3 $1,000,001-$10 million

LJ $10,000,001-$50 million
QI $50,000,001-$100 million
L} $100,000,001-$500 million

OC) $0-$50,000

C $50,001-$100,000

LJ $100,001-$500,000
Wesoo00181 million

| have examined this petition, and | declare under penalty of perjury that the inform

correct.

if | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible,

Oooo coco.

= fh tf ~

$500,000,001-$1 billion

5 1,000,000,001-$10 billion
$10,000,000,001-$50 billion
More than $50 billion

ation provided is true and

under Chapter 7, 11,12, or 13

of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

 

 

 

If no attorney represents me and | did not pa, or agree to pay someone who is not

this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

an attorney to help me fill out

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or

property by fraud in connection

with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152,,1341, 1519, and 3571.

«Le.

x

 

Signature of Debtor

Executed on Os - /- Mb -_ If

MM / OD /YYYY

Executedon ___|
MM

Official Form 101 Voluntary Petition for individuals Filing for Bankruptcy

 

Signature of Debtor 2

DD /YYYY

paggg
aie poeta

 

Case 18-15891-LMI

Debtor 1 fr Grieg ‘ 2 MOA L L
First Name Middle Name Last Name

For you if you are filing this

bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

Official Form 101

x

Case number (if known)

should understand that many People find it extremely difficult to

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represent

The law allows you, as an individual, to represent yourself in cut court, but you

themselves successfully. Because bankruptcy has long-term fin

To be successful, you must correctly file and handle your bankruptcy case.

ncial and legal
consequences, you are strongly urged to hire a qualified attorney.

The rules are very

technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or

hearing, or cooperate with the court, c se trustee, U.S. trustee, bankruptcy

administrator, or audit

firm if your case is selected for audit. If that happens, you could lose your tight to file another
case, or you may lose protections, including the benefit of the automatic Stay.

You. must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt

in your schedules. If you do not list a debt, the debt may not be discharged

. If you do not list

property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts ir you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individuat bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the

successful, you must be familiar with the United States Bankruptcy Code,
Bankruptcy Procedure, and the local rules of the court in which your Case i
be familiar with any state exemption laws that apply.

rules as if you had
hired an attorney. The court will not treat you differently because you are tte for yourself. To be

ine Federal Rules of

filed. You must also

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal

consequences?
ve

Yes
Are you aware that bankruptcy fraud is a serious crime and that if your ban
inaccurate or incomplete, you could be fined or imprisoned?

(3 No

Yes

neu pay or agree to pay someone who is not an attorney to help you fill
No

C) Yes. Name of Person

kruptcy forms are

out your bankruptcy forms?

 

Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signatu:

By signing here, | acknowledge that | understand the risks involved in filing

have read and understood this notice, and | am aware that filing a bankrupt
attorney may cause me to lose my rigits or property if | do not properly han

re (Official Form 119).

without an attorney. |
cy Case without an
dle the case.

 

Lae x

Signature of Debtor 1 Signature of Debtor 2

Date O5- leh OUP Date _|
MM / DD YYY MM

Contact phone Contact phone

 

DD /YYYY

 

Cell phone U6- ES 7 Seep Cell phone

 

Email address Email address

 

 

Voluntary Petition for Individuals Filing for Bankruptcy

pages

 

 

 

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LO. Box. £2.2672
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WwASURP

 

 
